
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT

                              _________________________

          No. 96-2001

                              UNITED STATES OF AMERICA,
                                      Appellant,

                                          v.

                      NIPPON PAPER INDUSTRIES CO., LTD., ET AL.,
                                Defendants, Appellees.

                              _________________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

                     [Hon. Joseph L. Tauro, U.S. District Judge]
                                            ___________________

                              _________________________

                                        Before

                                Selya, Circuit Judge,
                                       _____________

                            Coffin, Senior Circuit Judge,
                                    ____________________

                              and Lynch, Circuit Judge.
                                         _____________

                              _________________________

               Mark  S. Popofsky, Attorney,  Antitrust Division, U.S. Dep't
               _________________
          of  Justice,  with  whom  Anne K.  Bingaman,  Assistant  Attorney
                                    _________________
          General, Joel  I. Klein, Deputy Assistant  Attorney General, John
                   ______________                                      ____
          J.  Powers, III, Robert B.  Nicholson, David A.  Blotner, Lisa M.
          _______________  ____________________  _________________  _______
          Phelan, and Reginald K.  Tom, Attorneys, Antitrust Division, were
          ______      ________________
          on brief, for the United States.
               Richard G.  Parker, with whom  Geoffrey D.  Oliver, Alan  M.
               __________________             ___________________  ________
          Cohen,  O'Melveny &amp; Myers LLP, William H. Kettlewell, and Dwyer &amp;
          _____   _____________________  _____________________      _______
          Collora were on brief, for Nippon Paper Industries Co., Ltd.
          _______
               John  G.  Roberts,  Jr.,  David G.  Leitch,  H.  Christopher
               _______________________   ________________   _______________
          Bartolomucci, and Hogan &amp; Hartson L.L.P. on  brief for Government
          ____________      ______________________
          of Japan, amicus curiae.

                              _________________________


                                    March 17, 1997
                              _________________________
















                    SELYA, Circuit  Judge.  This case  raises an important,
                    SELYA, Circuit  Judge.
                           ______________

          hitherto unanswered question.  In  it, the United States attempts

          to convict a foreign corporation under the Sherman Act, a federal

          antitrust  statute, alleging  that price-fixing  activities which

          took place entirely in Japan  are prosecutable because they  were

          intended  to have, and did  in fact have,  substantial effects in

          this  country.   The  district court,  declaring that  a criminal

          antitrust   prosecution   could   not    be   based   on   wholly

          extraterritorial conduct,  dismissed the indictment.   See United
                                                                 ___ ______

          States  v. Nippon  Paper Indus.  Co., 944  F. Supp. 55  (D. Mass.
          ______     _________________________

          1996).  We reverse.

          I.  JUST THE FAX
          I.  JUST THE FAX

                    Since the district court granted the defendant's motion

          to dismiss for failure  to state a prosecutable offense,  we draw

          our account of the  pertinent events from the well-pleaded  facts

          in  the indictment itself.   See United States  v. National Dairy
                                       ___ _____________     ______________

          Prods. Corp., 372 U.S. 29, 33 n.2 (1963).
          ____________

                    In 1995, a  federal grand jury handed  up an indictment

          naming  as a defendant Nippon Paper Industries Co., Ltd. (NPI), a

          Japanese  manufacturer  of  facsimile  paper.1    The  indictment

          alleges that in 1990 NPI and certain unnamed  coconspirators held

          a number of meetings in Japan which culminated in an agreement to
                              
          ____________________

               1The  grand jury  also named another  Japanese manufacturer,
          Jujo  Paper  Co.,  Ltd. (Jujo),  as  a  codefendant.   Two  years
          earlier,  however,  NPI  had  been  formed  and,  the  government
          alleges, had assumed Jujo's assets and  liabilities.  Because the
          issue of successor liability is not before us, we treat NPI as if
          it were the sole defendant  and as if it, rather than  Jujo, were
          alleged to have committed the acts described in the indictment.

                                          2














          fix the price of thermal fax paper throughout North America.  NPI

          and other manufacturers who were  privy to the scheme purportedly

          accomplished their  objective by selling  the paper  in Japan  to

          unaffiliated trading  houses on condition that  the latter charge

          specified  (inflated) prices for the paper when they resold it in

          North  America.   The trading  houses then  shipped and  sold the

          paper to their subsidiaries in the United States who in turn sold

          it to  American  consumers at  swollen  prices.   The  indictment

          further relates that, in  1990 alone, NPI sold thermal  fax paper

          worth  approximately  $6,100,000  for  eventual import  into  the

          United States; and  that in order  to ensure  the success of  the

          venture, NPI  monitored the paper  trail and  confirmed that  the

          prices  charged to  end users  were those  that it  had arranged.

          These  activities,  the  indictment  posits,  had  a  substantial

          adverse effect  on commerce in the United States and unreasonably

          restrained  trade in violation of Section One of the Sherman Act,

          15 U.S.C.   1 (1994).

                    NPI  moved  to  dismiss  because, inter  alia,  if  the
                                                      _____  ____

          conduct attributed to NPI occurred at all, it took place entirely

          in Japan, and,  thus, the  indictment failed to  limn an  offense

          under Section One  of the  Sherman Act.   The government  opposed

          this initiative on two  grounds.  First, it claimed that  the law

          deserved a less grudging reading and that, properly read, Section

          One  of the  Sherman  Act applied  criminally  to wholly  foreign

          conduct as long as that conduct produced substantial and intended

          effects  within the United States.   Second, it  claimed that the


                                          3














          indictment,  too,  deserved a  less  grudging  reading and  that,

          properly  read,  the  bill   alleged  a  vertical  conspiracy  in

          restraint  of   trade  that   involved  overt  acts   by  certain

          coconspirators within the United States.  Accepting a restrictive

          reading of  both  the statute  and the  indictment, the  district

          court dismissed the case.  See United States v. NPI, 944 F. Supp.
                                     ___ _____________    ___

          at 64-66.  This appeal followed.

          II.  ANALYSIS
          II.  ANALYSIS

                    We  begin     and  end     with  the  overriding  legal

          question.2     Because   this  question   is  one   of  statutory

          construction, we review de  novo the holding that Section  One of

          the Sherman Act does not cover wholly extraterritorial conduct in

          the criminal context.  See United States v. Gifford, 17 F.3d 462,
                                 ___ _____________    _______

          471-72 (1st Cir. 1994).

                    Our analysis  proceeds in  moieties.  We  first present

          the historical  context in which this  important question arises.

          We move next to the specifics of the case.

                            A.  An Historical Perspective.
                            A.  An Historical Perspective.
                                _________________________

                    Our  law   has  long  presumed   that  "legislation  of

          Congress, unless  a contrary  intent appears,  is meant  to apply

          only within  the territorial jurisdiction of  the United States."

          EEOC  v. Arabian  American  Oil Co.,  499  U.S. 244,  248  (1991)
          ____     __________________________
                              
          ____________________

               2Inasmuch as we hold  that activities committed abroad which
          have a substantial and  intended effect within the United  States
          may form the basis  for a criminal prosecution under  Section One
          of  the  Sherman  Act,  we  need  not  address  the  government's
          alternative  argument that  the indictment  in this  case alleges
          that  some  overt acts  in  furtherance  of  the conspiracy  were
          perpetrated in the United States.

                                          4














          (citation  omitted).   In  this  context, the  Supreme  Court has

          charged inquiring  courts with  determining whether  Congress has

          clearly expressed an affirmative  desire to apply particular laws

          to conduct that occurs  beyond the borders of the  United States.

          See id.
          ___ ___

                    The earliest  Supreme  Court  case  which  undertook  a

          comparable  task in  respect to  Section One  of the  Sherman Act

          determined  that the presumption  against extraterritoriality had

          not been  overcome.  In American Banana  Co. v. United Fruit Co.,
                                  ____________________    ________________

          213  U.S. 347 (1909), the Court considered the application of the

          Sherman Act in  a civil action concerning  conduct which occurred

          entirely  in Central America and which  had no discernible effect

          on  imports to  the United  States.   Starting with  what Justice

          Holmes  termed "the  general and  almost universal  rule" holding

          "that the  character of  an act  as  lawful or  unlawful must  be

          determined wholly  by the  law of  the country  where the  act is

          done," id. at 356,  and the ancillary proposition that,  in cases
                 ___

          of  doubt, a  statute should  be "confined  in its  operation and

          effect to  the territorial  limits  over which  the lawmaker  has

          general  and legitimate power," id.  at 357, the  Court held that
                                          ___

          the defendant's actions abroad were not proscribed by the Sherman

          Act.

                    Our  jurisprudence is  precedent-based, but  it is  not

          static.  By 1945, a different court saw a very similar problem in

          a  somewhat softer light.   In United  States v.  Aluminum Co. of
                                         ______________     _______________

          Am., 148 F.2d  416 (2d  Cir. 1945) (Alcoa),  the Second  Circuit,
          ___                                 _____


                                          5














          sitting  as  a  court  of  last  resort,  see  15  U.S.C.      29
                                                    ___

          (authorizing designation of a court of appeals as a court of last

          resort  for  certain  antitrust  cases), mulled  a  civil  action

          brought under Section One against a Canadian corporation for acts

          committed  entirely abroad  which,  the government  averred,  had

          produced  substantial anticompetitive  effects within  the United

          States.    The Alcoa  court read  American Banana  narrowly; that
                         _____              _______________

          case, Judge Learned Hand wrote, stood only for the principle that

          "[w]e should not impute to Congress an intent to punish  all whom

          its  courts  can catch,  for  conduct which  has  no consequences

          within  the  United  States."   Id.  at  443.    But a  sovereign
                                          ___

          ordinarily can  impose liability for conduct  outside its borders

          that  produces consequences within them, and while considerations

          of  comity argue against  applying Section  One to  situations in

          which no  effect within the  United States has  been shown    the

          American  Banana scenario    the  statute, properly  interpreted,
          ________________

          does  proscribe  extraterritorial acts  which  were  "intended to

          affect imports  [to the United States] and did affect them."  Id.
                                                                        ___

          at  444.   On  the facts  of  Alcoa, therefore,  the  presumption
                                        _____

          against  extraterritoriality had  been overcome, and  the Sherman

          Act had been violated.  See id. at 444-45.
                                  ___ ___

                    Any perceived tension between American Banana and Alcoa
                                                  _______________     _____

          was eased by the  Supreme Court's most recent exploration  of the

          Sherman Act's  extraterritorial reach.  In Hartford Fire Ins. Co.
                                                     ______________________

          v. California, 509 U.S. 764 (1993), the Justices endorsed Alcoa's
             __________                                             _____

          core holding, permitting civil antitrust claims under Section One


                                          6














          to go forward despite  the fact that the actions  which allegedly

          violated Section  One occurred entirely  on British soil.   While

          noting   American  Banana's   initial   disagreement  with   this
                   ________________

          proposition, the Hartford Fire  Court deemed it "well established
                           _____________

          by now that  the Sherman Act applies to foreign  conduct that was

          meant  to produce and did in fact produce some substantial effect

          in  the United  States."   Id. at  796.   The conduct  alleged, a
                                     ___

          London-based conspiracy  to alter the American  insurance market,

          met that benchmark.3  See id.
                                ___ ___

                    To sum  up, the  case law now  conclusively establishes

          that civil antitrust actions predicated on wholly foreign conduct

          which has an intended and substantial effect in the United States

          come  within Section One's jurisdictional  reach.  In arriving at

          this conclusion, we take no view of the government's asseveration

          that  the  Foreign  Trade  Antitrust  Improvements  Act  of  1982
                              
          ____________________

               3As  NPI reminds  us,  four Justices  dissented in  Hartford
                                                                   ________
          Fire.    This  is  cold  comfort,  however,  for  the  dissenters
          ____
          expressed  complete  agreement  with   the  majority's  view   on
          extraterritoriality.  See Hartford Fire, 509 U.S. at 814 (Scalia,
                                ___ _____________
          J., dissenting).  By the same token, NPI's attempt to distinguish
          Hartford Fire on  the ground that  the defendants there  conceded
          _____________
          the United  States' jurisdiction over their conduct fails for two
          reasons.
                In the first place, the assertion is no more than a play on
          words.  The  majority opinion  in Hartford Fire  stated that  the
                                            _____________
          district court  "undoubtedly"  had jurisdiction  over  the  civil
          claims, "as the  London reinsurers apparently  concede."  Id.  at
                                                                    ___
          795.   It is obvious, therefore, that jurisdiction did not depend
          on   the  concession;   to  the   contrary,  jurisdiction   would
          "undoubtedly"  have existed in any  event.  In  the second place,
          one  of the  London  defendants did  not  join in  this  apparent
          concession,  but the  Court  nonetheless  held  that  defendant's
          foreign conduct to be within the Sherman Act's proscriptive ambit
          because it was part of a scheme which "was intended to and did in
          fact  produce  a substantial  effect  on  the American  insurance
          market."  Id. at 795 n.21.
                    ___

                                          7














          (FTAIA), 15  U.S.C.   6a (1994), makes  manifest Congress' intent

          to  apply  the Sherman  Act  extraterritorially.   The  FTAIA  is

          inelegantly phrased  and the court  in Hartford Fire  declined to
                                                 _____________

          place any weight on it.  See Hartford Fire, 509 U.S. at 796 n.23.
                                   ___ _____________

          We emulate this example  and do not rest our  ultimate conclusion

          about Section One's scope upon the FTAIA.

                                   B.  The Merits.
                                   B.  The Merits.
                                       __________

                    Were  this a civil case, our journey would be complete.

          But  here the  United States  essays a  criminal prosecution  for

          solely extraterritorial conduct rather than a civil action.  This

          is  largely  uncharted terrain;  we  are  aware of  no  authority

          directly on point, and the parties have cited none.

                    Be that as  it may,  one datum sticks  out like a  sore

          thumb:  in both criminal and civil cases,  the claim that Section

          One applies extraterritorially is  based on the same language  in

          the  same  section  of  the  same   statute:    "Every  contract,

          combination  in the form of trust or otherwise, or conspiracy, in

          restraint  of trade or commerce among the several States, or with

          foreign nations,  is declared  to be  illegal."   15 U.S.C.    1.

          Words may sometimes be chameleons, possessing different shades of

          meaning in  different contexts, see,  e.g., Hanover  Ins. Co.  v.
                                          ___   ____  _________________

          United States, 880 F.2d 1503, 1504 (1st Cir. 1989), cert. denied,
          _____________                                       _____ ______

          493 U.S.  1023  (1990), but  common  sense suggests  that  courts

          should interpret the  same language  in the same  section of  the

          same  statute uniformly,  regardless of  whether the  impetus for

          interpretation is criminal or civil.


                                          8














                    Common sense  is usually a good  barometer of statutory

          meaning.  Here, however,  we need not rely on common sense alone;

          accepted  canons  of statutory  construction  point  in the  same

          direction.    It is  a  fundamental  interpretive principle  that

          identical words or terms used in  different parts of the same act

          are  intended  to have  the same  meaning.   See  Commissioner of
                                                       ___  _______________

          Internal  Revenue v. Lundy, 116 S. Ct. 647, 655 (1996); Gustafson
          _________________    _____                              _________

          v. Alloyd  Co., 115 S. Ct.  1061, 1067 (1995).   This principle  
             ___________

          which the  Court recently  called "the  basic canon  of statutory

          construction," Estate of Cowart v. Nicklos Drilling Co., 505 U.S.
                         ________________    ____________________

          469,  479 (1992)     operates not  only  when particular  phrases

          appear in different sections of the same act, but also when  they

          appear in different  paragraphs or sentences of a single section.

          See Russo  v. Texaco, Inc., 808 F.2d 221, 227 (2d Cir. 1986) ("It
          ___ _____     ____________

          is a  settled principle of statutory construction that [w]hen the

          same word  or phrase is used in  the same section of  an act more

          than once, and the meaning is clear as used in one place, it will

          be  construed to  have  the same  meaning  in the  next  place.")

          (citations and  internal quotation marks  omitted); United States
                                                              _____________

          v.  Gertz,  249 F.2d  662,  665 (9th  Cir.  1957) (similar).   It
              _____

          follows,  therefore,   that  if  the  language   upon  which  the

          indictment rests were the  same as the language upon  which civil

          liability  rests  but  appeared  in a  different  section  of the

          Sherman Act, or in a different part of the same section, we would

          be under great pressure to  follow the lead of the Hartford  Fire
                                                             ______________

          Court   and  construe   the  two   iterations  of   the  language


                                          9














          identically.  Where,  as here, the tie binds  more tightly   that

          is,  the  text under  consideration  is  not merely  a  duplicate

          appearing  somewhere else  in  the statute,  but is  the original

          phrase in the original  setting   the pressure escalates  and the

          case for reading the language in  a manner consonant with a prior

          Supreme Court interpretation is  irresistible.  See United States
                                                          ___ _____________

          v.  Thompson/Center  Arms  Co., 504  U.S.  505,  518 n.10  (1992)
              __________________________

          (plurality  op.) (flatly  rejecting  the  idea, while  construing

          language   from  a   statute   with  both   civil  and   criminal

          implications, that a court should "refrain in criminal cases from

          applying statutory language that would have been held to apply if

          challenged in civil litigation").

                    The  Supreme Court confronted an analogous situation in

          Ratzlaf v. United States, 510 U.S. 135 (1994).   There, the court
          _______    _____________

          dealt with  a single  criminal penalty  clause,  contained in  31

          U.S.C.      5322(a)  (1994),  which  authorized   punishment  for

          individuals "willfully violating" a number  of separate statutory

          provisions.    The  defendant  was charged  under  one  of  these

          provisions.    After noting  that  identical  terms appearing  at

          multiple  places  within  a  single statute  customarily  have  a

          consistent meaning, the Court said:  "We have even stronger cause

          to  construe a single formulation,  here   5322(a),  the same way
                         ______

          each time it  is called into  play."   Id. at 143.   The  Ratzlaf
                                                 ___                _______

          Court proceeded to interpret  the phrase "willfully violating" to

          incorporate the same mens rea requirement that had been read into

          the  phrase when section  5322(a) was applied  in other contexts.


                                          10














          See id.  at 136-37,  141.   In  so doing  the  Court quoted  with
          ___ ___

          approval  our statement in United States v. Aversa, 984 F.2d 493,
                                     _____________    ______

          498 (1st Cir. 1993) (en banc):  "Ascribing  various meanings to a

          single  iteration . . .    reading the  word differently for each

          code section  to which it applies   would open Pandora's jar.  If

          courts  can render  meaning  so malleable,  the  usefulness of  a

          single penalty provision  for a  group of  related code  sections

          will be eviscerated."

                    Ratzlaf  is not  our  only teaching  aid.   This  court
                    _______

          recently  confronted  a  situation  that,  putting  together  its

          successive stages, throws light upon the problem at hand.  Having

          found  an  ambiguity  in  the  phrase  "cost  of producing  self-

          employment income," 7  U.S.C.   2014(d)(9) (1994), we deferred to

          a  reasonable  administrative  regulation interpreting  it.   See
                                                                        ___

          Strickland v.  Commissioner, Me. Dep't  of Human Servs.,  48 F.3d
          __________     ________________________________________

          12, 21 (1st  Cir.), cert. denied,  116 S. Ct.  145 (1995).  In  a
                              _____ ______

          subsequent  suit  involving the  same  parties,  we debunked  the

          plaintiffs' contention, advanced in a somewhat  different context

          and in connection with  a neoteric legal theory, that  the phrase

          in  question  had a  plain meaning.    We explained:   "Statutory

          ambiguity does not flash on and  off like a bank of strobe lights

          at a discotheque, shining brightly at the time of one lawsuit and

          then vanishing mysteriously in the interlude before the next suit

          appears."  Strickland v. Commissioner, Me. Dep't of Human Servs.,
                     __________    _______________________________________

          96  F.3d 542,  547 (1st Cir.  1996).   Read in  the ensemble, the

          Strickland  opinions  stand for  the  proposition  that the  same
          __________


                                          11














          phrase, appearing in the same portion of the same statute, cannot

          bear divergent interpretations in different litigation contexts.

                    The  shared  rationale of  the  Ratzlaf  and Strickland
                                                    _______      __________

          cases reinforces  the basic  canon of  construction and gives  us

          confidence that  we should follow the  canon here.  The  words of

          Section  One have not changed since the Hartford Fire Court found
                                                  _____________

          that they clearly  evince Congress' intent  to apply the  Sherman

          Act  extraterritorially  in  civil   actions,  and  it  would  be

          disingenuous  for us  to pretend  that the  words had  lost their

          clarity simply  because this  is  a criminal  proceeding.   Thus,

          unless some special  circumstance obtains in this  case, there is

          no principled way in which we can uphold the order of dismissal.

                    NPI and its  amicus, the Government of Japan, urge that

          special  reasons   exist  for   measuring  Section  One's   reach

          differently  in  a  criminal context.    We  have  reviewed their

          exhortations and found  them hollow.   We discuss  the five  most

          promising theses below.  The rest do not require comment.

                    1.  Lack of Precedent.  NPI and its amicus make much of
                    1.  Lack of Precedent.
                        _________________

          the fact that this appears to be the first criminal case in which

          the  United States  endeavors  to extend  Section  One to  wholly

          foreign conduct.   We are not  impressed.  There is  a first time

          for everything, and  the absence of  earlier criminal actions  is

          probably more  a demonstration of the  increasingly global nature

          of  our economy than proof  that Section One  cannot cover wholly

          foreign conduct in the criminal milieu.

                    Moreover,   this  argument   overstates  the   lack  of


                                          12














          precedent.  There is, for example, solid authority for applying a

          state's criminal  statute to  conduct occurring  entirely outside

          the state's borders.  See Strassheim v. Daily,  221 U.S. 280, 285
                                ___ __________    _____

          (1911)  (Holmes,  J.) ("Acts  done  outside  a jurisdiction,  but

          intended to produce and  producing detrimental effects within it,

          justify a State in punishing  the cause of the harm as if  he had

          been  present at  the  effect, if  the  State should  succeed  in

          getting him within its power.").  It is not  much of a stretch to

          apply  this  same  principle  internationally,  especially  in  a

          shrinking world.  See, e.g., Chua  Han Mow v. United States,  730
                            ___  ____  _____________    _____________

          F.2d 1308, 1311-12 (9th Cir. 1984) (applying Strassheim principle
                                                       __________

          to conduct in Malaysia  involving drugs intended for distribution

          in the United States), cert. denied, 470 U.S. 1031 (1985); United
                                 _____ ______                        ______

          States  v. Hayes, 653  F.2d 8, 11 (1st  Cir. 1981) (similar); cf.
          ______     _____                                              ___

          John  Donne, Devotions  Upon  Emergent Occasions,  no. 17  (1624)
                       ___________________________________

          (warning that "no  man is an island, entire of  itself; every man

          is a piece of the continent, a part of the main"). 

                    2.  Difference  in Strength of Presumption.   The lower
                    2.  Difference  in Strength of Presumption.
                        ______________________________________

          court and  NPI both  cite United  States v.  Bowman, 260  U.S. 94
                                    ______________     ______

          (1922),  for  the   proposition  that  the   presumption  against

          extraterritoriality operates with greater  force in the  criminal

          arena than in civil  litigation.  This misreads the opinion.   To

          be sure, the Bowman  Court, dealing with a charged  conspiracy to
                       ______

          defraud, warned that if  the criminal law "is  to be extended  to

          include  those   [crimes]   committed  outside   of  the   strict

          territorial jurisdiction, it is natural for Congress to say so in


                                          13














          the statute, and failure  to do so  will negative the purpose  of

          Congress in this  regard."   Id. at 98.   But this  pronouncement
                                       ___

          merely  restated  the  presumption   against  extraterritoriality

          previously established  in civil cases like  American Banana, 213
                                                       _______________

          U.S.  at  357.    The  Bowman  Court  nowhere  suggested  that  a
                                 ______

          different, more resilient presumption arises in criminal cases.4

                    Nor does United States v. United States Gypsum Co., 438
                             _____________    ________________________

          U.S. 422 (1978),  offer aid and succor to NPI.   Recognizing that

          "the behavior proscribed by the  [Sherman] Act is often difficult

          to distinguish  from the  gray  zone of  socially acceptable  and

          economically  justifiable business conduct,"  id. at  440-41, the
                                                        ___

          Gypsum  Court held that criminal intent  generally is required to
          ______

          convict  under  the  Act.    See  id.  at  443.    Although  this
                                       ___  ___

          distinguishes some  civil antitrust  cases (in which  intent need

          not be proven) from their criminal counterparts, the Gypsum Court
                                                               ______

          made  it plain  that  intent  need  not  be  shown  to  prosecute

          criminally "conduct  regarded as  per se illegal  because of  its
                                            ___ __

          unquestionably  anticompetitive  effects."   Id.  at  440.   This
                                                       ___

          means,   of  course,   that  defendants   can  be   convicted  of

          participation   in   price-fixing   conspiracies    without   any

          demonstration  of  a  specific  criminal intent  to  violate  the

          antitrust  laws.   See, e.g.,  United States  v. Brown,  936 F.2d
                             ___  ____   _____________     _____
                              
          ____________________

               4Indeed, the  Bowman Court stated that  it regarded American
                             ______                                ________
          Banana as  an appropriate  analogy because the  antitrust statute
          ______
          "is criminal  as well as civil."  260 U.S.  at 98.  This seems to
          support  the  notion that  the presumption  is  the same  in both
          instances and leaves little  room to argue that the  Bowman Court
                                                               ______
          was attempting  to  craft  a  special,  more  rigorous  rule  for
          criminal proceedings.

                                          14














          1042,  1046 (9th Cir. 1991);  United States v.  Society of Indep.
                                        _____________     _________________

          Gas.  Marketers, 624 F.2d 461, 465 (4th Cir. 1980), cert. denied,
          _______________                                     _____ ______

          449 U.S. 1078 (1981); United States v. Gillen, 599 F.2d 541, 544-
                                _____________    ______

          45  (3d Cir.), cert. denied,  444 U.S. 1078  (1979).  Because the
                         _____ ______

          instant case falls within that rubric, Gypsum does not help NPI.
                                                 ______

                    We add  that even if Gypsum  had differentiated between
                                         ______

          civil and criminal price-fixing cases, NPI's reliance on it would

          still be problematic.  Reduced to bare essence, Gypsum focuses on
                                                          ______

          mens rea, noting that centuries of Anglo-American legal tradition

          instruct that criminal liability ordinarily should be premised on

          malevolent intent, see id. at 436-37, whereas civil liability, to
                             ___ ___

          which less stigma and  milder consequences commonly attach, often

          requires  a lesser  showing  of  intent.    There  is  simply  no

          comparable tradition  or rationale  for drawing a  criminal/civil

          distinction with  regard to extraterritoriality, and  neither NPI

          nor its amicus have alluded to any case which does so.

                    3.  The Restatement.   NPI and the district  court, 944
                    3.  The Restatement.
                        _______________

          F. Supp.  at 65, both sing the praises of the Restatement (Third)

          of Foreign  Relations Law  (1987),  claiming that  it supports  a

          distinction  between civil  and criminal  cases on  the issue  of

          extraterritoriality.   The passage to which  they pin their hopes

          states:

                    [I]n the case of regulatory statutes that may
                    give   rise  to   both  civil   and  criminal
                    liability,   such   as   the  United   States
                    antitrust and securities  laws, the  presence
                    of   substantial    foreign   elements   will
                    ordinarily   weigh  against   application  of
                    criminal law.    In such  cases,  legislative
                    intent to subject conduct outside the state's

                                          15














                    territory to its criminal law should be found
                    only  on the  basis  of express  statement or
                    clear implication.

          Id.  at    403 cmt.  f.   We believe  that this  statement merely
          ___

          reaffirms the classic  presumption against extraterritoriality   

          no  more,  no less.    After  all, nothing  in  the  text of  the

          Restatement proper contradicts the government's interpretation of

          Section One.   See, e.g.,  id. at    402(1)(c) (explaining  that,
                         ___  ____   ___

          subject  only to a general requirement of reasonableness, a state

          has jurisdiction to proscribe "conduct outside its territory that

          has  or  is  intended  to  have  substantial  effect  within  its

          territory");5 id.  at    415(2) ("Any  agreement in  restraint of
                        ___

          United States trade that is made outside of the United States . .

          . [is] subject  to the  jurisdiction to prescribe  of the  United

          States, if a principal purpose of the conduct  or agreement is to

          interfere  with the  commerce  of  the  United  States,  and  the

          agreement or conduct has  some effect on that commerce.").   What

          is more,  other comments  indicate that a  country's decision  to

          prosecute wholly  foreign conduct  is discretionary.   See, e.g.,
                                                                 ___  ____

          id. at   403 rep. n.8.
          ___

                    4.  The Rule of Lenity.  The next arrow which NPI yanks
                    4.  The Rule of Lenity.
                        __________________

          from  its quiver  is the  rule  of lenity.   The  rule itself  is

          venerable;  it  provides  that,  in the  course  of  interpreting

          statutes  in criminal  cases,  a reviewing  court should  resolve

                              
          ____________________

               5We note in passing that, by their use of the disjunctive in
          this section, the drafters  of the Restatement seem to  suggest a
          more permissive standard then we, and other American courts, see,
                                                                       ___
          e.g., Alcoa, 148 F.2d at 444, would deem meet.
          ____  _____

                                          16














          ambiguities affecting a statute's scope in the defendant's favor.

          See, e.g., Hughey  v. United  States, 495 U.S.  411, 422  (1990);
          ___  ____  ______     ______________

          Crandon v. United States, 494 U.S. 152, 158 (1990); United States
          _______    _____________                            _____________

          v.  Gibbens, 25  F.3d 28,  35 (1st Cir.  1994); United  States v.
              _______                                     ______________

          Ferryman,  897 F.2d 584, 591  (1st Cir.), cert.  denied, 498 U.S.
          ________                                  _____  ______

          830  (1990).   But  the rule  of  lenity is  inapposite unless  a

          statutory ambiguity looms,  and a  statute is  not ambiguous  for

          this  purpose simply  because  some courts  or commentators  have

          questioned its proper interpretation.6  See Reno v. Koray, 115 S.
                                                  ___ ____    _____

          Ct. 2021, 2029 (1995); Moskal v. United States, 498 U.S. 103, 108
                                 ______    _____________

          (1990).  Rather,  "[t]he rule  of lenity applies  only if,  after

          seizing everything from which  aid can be derived, [a  court] can

          make  no more than a guess as  to what Congress intended."  Reno,
                                                                      ____

          115 S.  Ct.  at 2029  (citations, internal  quotation marks,  and

          certain  brackets omitted);  accord United  States v.  O'Neil, 11
                                       ______ ______________     ______

          F.3d 292, 301 n.10 (1st Cir. 1993) (describing the rule of lenity

          as "a background principle that properly comes into play when, at

          the end  of a thorough inquiry, the meaning of a criminal statute

          remains obscure").   Put bluntly,  the rule of  lenity cannot  be

          used to create ambiguity when  the meaning of a law, even  if not

          readily apparent, is, upon inquiry, reasonably clear.

                              
          ____________________

               6Leaving aside the lower court's  decision in this case,  no
          reported opinion  has questioned  the  applicability of  Hartford
                                                                   ________
          Fire's  exercise  in  statutory  construction  to  the  precincts
          ____
          patrolled  by the  criminal law.   Nevertheless,  Hartford Fire's
                                                            _____________
          rendition of the  statute has drawn  criticism from the  academy.
          See,  e.g., Kenneth  W.  Dam, Extraterritoriality  in  an Age  of
          ___   ____                    ___________________________________
          Globalization:  The Hartford  Fire Case, 1993 Sup. Ct.  Rev. 289,
          _______________________________________
          307-13 (1993).

                                          17














                    That ends the matter  of lenity.   In view of the  fact

          that the Supreme  Court deems it "well  established" that Section

          One  of  the  Sherman  Act  applies  to  wholly foreign  conduct,

          Hartford Fire,  509 U.S.  at 796,  we effectively are  foreclosed
          _____________

          from trying to tease an ambiguity  out of Section One relative to

          its extraterritorial  application.    Accordingly,  the  rule  of

          lenity plays no part in the instant case.

                    5.   Comity.   International comity is  a doctrine that
                    5.   Comity.
                         ______

          counsels  voluntary  forbearance when  a  sovereign  which has  a

          legitimate  claim  to   jurisdiction  concludes  that  a   second

          sovereign  also  has a  legitimate  claim  to jurisdiction  under

          principles  of   international  law.     See  Harold   G.  Maier,
                                                   ___

          Extraterritorial Jurisdiction at  a Crossroads:   An Intersection
          _________________________________________________________________

          Between Public and Private  International Law, 76 A. J.  Int'l L.
          _____________________________________________

          280, 281 n.1  (1982).  Comity is more an  aspiration than a fixed

          rule, more a matter of grace than a matter of obligation.  In all

          events,  its growth in the  antitrust sphere has  been stunted by

          Hartford Fire, in which the  Court suggested that comity concerns
          _____________

          would operate  to defeat  the  exercise of  jurisdiction only  in

          those  few  cases  in which  the  law  of  the foreign  sovereign

          required a defendant  to act  in a manner  incompatible with  the

          Sherman  Act  or in  which  full compliance  with  both statutory

          schemes was impossible.   See Hartford Fire, 509 U.S.  at 798-99;
                                    ___ _____________

          see  also Kenneth  W.  Dam,  Extraterritoriality  in  an  Age  of
          ___  ____                    ____________________________________

          Globalization:  The Hartford  Fire Case, 1993 Sup. Ct.  Rev. 289,
          _______________________________________

          306-07 (1993).   Accordingly, the Hartford Fire Court  gave short
                                            _____________


                                          18














          shrift to the  defendants' entreaty that  the conduct leading  to

          antitrust liability  was perfectly  legal in the  United Kingdom.

          See Hartford Fire, 509 U.S. at 798-99.
          ___ _____________

                    In  this case the  defendant's comity-based argument is

          even more attenuated.   The conduct with which NPI  is charged is

          illegal  under   both  Japanese   and   American  laws,   thereby

          alleviating any founded concern about NPI being whipsawed between

          separate sovereigns.  And, moreover, to the extent that comity is

          informed by general principles of reasonableness, see Restatement
                                                            ___

          (Third)  of Foreign  Relations Law    403, the  indictment lodged

          against  NPI  is well  within the  pale.   In it,  the government

          charges  that the  defendant orchestrated  a conspiracy  with the

          object of rigging prices in the United States.  If the government

          can  prove these charges, we see no tenable reason why principles

          of comity should shield NPI from  prosecution.  We live in an age

          of international commerce, where  decisions reached in one corner

          of  the world can reverberate around  the globe in less time than

          it takes  to tell the tale.  Thus,  a ruling in NPI's favor would

          create  perverse incentives  for  those who  would use  nefarious

          means to influence  markets in the United  States, rewarding them

          for erecting  as many  territorial firewalls as  possible between

          cause and effect.

                    We  need go  no  further.   Hartford Fire  definitively
                                                _____________

          establishes that Section One of the Sherman Act applies to wholly

          foreign conduct which has  an intended and substantial  effect in

          the United States.  We  are bound to accept that holding.   Under


                                          19














          settled principles  of statutory construction, we  also are bound

          to  apply  it  by interpreting  Section  One  the same  way  in a

          criminal case.  The combined force of these  commitments requires

          that we  accept the  government's cardinal argument,  reverse the

          order of the district court, reinstate the indictment, and remand

          for further proceedings.



          Reversed and remanded.
          Reversed and remanded.
          _____________________



                   Concurring Opinion follows  
                   Concurring Opinion follows  


































                                          20















                      LYNCH,  Circuit  Judge  (concurring). The  question
                      LYNCH,  Circuit  Judge  (concurring). 
                              ______________

            presented  in this case is whether Section One of the Sherman

            Act authorizes criminal prosecutions of defendants for  their

            actions  committed  entirely   outside  the  United   States.

            Judicial precedents,  culminating  with the  Supreme  Court's

            decision  in Hartford Fire Insurance Co.   v. California, 509
                         ___________________________      __________

            U.S. 764  (1993), conclusively  establish that  Section One's

            jurisdictional reach extends,  in civil  actions, to  foreign

            conduct that is meant  to produce, and does in  fact produce,

            substantial effects in the United States.   The next question

            to  be asked  is whether  there is  any persuasive  reason to

            believe that, with regard  to wholly foreign conduct, Section

            One in the criminal context is not co-extensive with  Section

            One in the civil context.

                      In answering this  second question, courts must  be

            careful to  determine  whether this  construction of  Section

            One's   criminal   reach   conforms   with    principles   of

            international  law.   "It  has  been  a  maxim  of  statutory

            construction  since the  decision in  Murray v.  The Charming
                                                  ______     ____________

            Betsy, 2 Cranch 64, 118, 2 L. Ed. 208 (1804), that 'an act of
            _____

            congress  ought never to be  construed to violate  the law of

            nations,   if  any  other  possible  construction  remains.'"

            Weinberger v.  Rossi, 456 U.S.  25, 32 (1982).   In the Alcoa
            __________     _____                                    _____

            case,  Judge Learned  Hand found  this canon  of construction

            relevant to determining the  substantive reach of the Sherman



                                          21















            Act,  observing that "we are not to read general words [i.e.,
                                                                    ____

            Section  One]  .  .  .  without  regard  to  the  limitations

            customarily observed  by nations  upon the exercise  of their

            powers."  United States v. Aluminum Co. of Am., 148 F.2d 416,
                      _____________    ___________________

            443 (2d Cir. 1945);  see also Hartford Fire, 509 U.S. at 814-
                                 ________ _____________

            15 (Scalia, J., dissenting). 

                      The task of construing  Section One in this context

            is not the usual one  of determining congressional intent  by

            parsing the  language or legislative history  of the statute.

            The broad, general language of the federal antitrust laws and

            their  unilluminating  legislative  history  place  a special

            interpretive responsibility  upon the judiciary.  The Supreme

            Court has called the  Sherman Act a "charter of  freedom" for

            the courts, with "a generality and adaptability comparable to

            that found . . . in constitutional provisions."   Appalachian
                                                              ___________

            Coals, Inc. v.  United States, 288  U.S. 344, 359-60  (1933).
            ___________     _____________

            As Professors Areeda and Turner have said, the federal courts

            have been invested "with a jurisdiction to create and develop

            an 'antitrust law' in  the manner of the common  law courts."

            I Areeda &amp; Turner, Antitrust  Law   106, at 15 (1978).7   The
                               ______________

            courts  are  aided  in  this  task  by  canons  of  statutory

            construction,  such  as  the  presumption  against  violating



                                
            ____________________

            7.  Professors  Areeda  and  Turner also  note  that  "judges
            sometimes  talk  as  if  Congress  has  already  decided  the
            question before them.  This is usually a misconception."  Id.
                                                                      ___

                                          22















            international law, which serve  as both guides and  limits in

            theabsence of more explicit indicia of congressional intent. 

                      Here,  we are  asked  to determine  the substantive

            content  of Section  One's inexact  jurisdictional provision,

            "commerce  . .  .  with foreign  nations."   15  U.S.C.    1.

            Because of  the "compunctions against the  creation of crimes

            by judges rather than by legislators," II Areeda &amp; Hovenkamp,

            Antitrust   Law     311b,   at  33   (1995  rev.   ed.),  the
            _______________

            constitution-like  aspects  of  the  antitrust  laws must  be

            handled particularly carefully in criminal prosecutions.

                      As  the antitrust laws give the federal enforcement

            agencies  a   relatively  blank  check,  the  development  of

            antitrust law has been  largely shaped by the cases  that the

            executive branch chooses  - or  does not choose  - to  bring.

            Accordingly it has been said that:

                      novel  interpretations  or  great  departures  have
                      seldom, if ever, occurred  in criminal cases, which
                      prosecutors  have  usually reserved  for defendants
                      whose   knowing   behavior   would   be   generally
                      recognized as appropriate for criminal sanctions.

            Id. at 34.  This case does present a new  interpretation.  We
            ___

            are  told this is the  first instance in  which the executive

            branch has chosen to interpret the criminal provisions of the

            Sherman Act  as reaching conduct wholly  committed outside of

            this country's borders.

                      Changing economic conditions,  as well as different

            political  agendas, mean  that antitrust policies  may change



                                          23















            from   administration   to  administration.      The  present

            administration  has  promulgated  new  Antitrust  Enforcement

            Guidelines   for   International   Operations  which   "focus

            primarily on  situations in which the Sherman  Act will grant

            jurisdiction and  when the  United States will  exercise that

            jurisdiction"   internationally.      Brockbank,   The   1995
                                                               __________

            International  Antitrust  Guidelines:   The  Reach  of   U.S.
            _____________________________________________________________

            Antitrust  Law Continues to Expand, 2 J. Int'l Legal Stud. 1,
            __________________________________

            *22  (1996).     The   new  Guidelines  reflect   a  stronger

            enforcement stance  than earlier versions  of the Guidelines,

            and  have been described as a "warning to foreign governments

            and  enterprises that  the  [antitrust enforcement]  Agencies

            intend  to  actively  pursue restraints  on  trade  occurring

            abroad  that  adversely  affect American  markets  or  damage

            American exporting opportunities."  Id. at *21.   The instant
                                                ___

            case is likely a result of this policy.

                      It  is  with  this  context in  mind  that  we must

            determine if  the exercise of jurisdiction  occasioned by the

            decision  of  the executive  branch of  the United  States is

            proper in this case.  While courts, including this one, speak

            of   determining   congressional  intent   when  interpreting

            statutes,  the  meaning of  the  antitrust  laws has  emerged

            through   the  relationship  among   all  three  branches  of

            government.  In this criminal case, it is  our responsibility

            to ensure that the  executive's interpretation of the Sherman



                                          24















            Act does not conflict  with other legal principles, including

            principles of international law.

                      That  question  requires  examination   beyond  the

            language  of  Section One  of  the Sherman  Act.   It  is, of

            course,  generally true  that,  as a  principle of  statutory

            interpretation, the same language should be read the same way

            in all contexts  to which the language applies.   But this is

            not  invariably true.   New content is  sometimes ascribed to

            statutory  terms depending  upon  context.   Cf. Robinson  v.
                                                         ___ ________

            Shell  Oil  Co., 117  S. Ct.  843,  847 (1997)  (depending on
            _______________

            context,  statutory  term  may  have  different  meanings  in

            different   sections  of   single  statute);   3  Sutherland,

            Statutory Construction   60.04  (5th ed. 1995) (statutes with
            ______________________

            both remedial and penal provisions may be construed liberally

            in remedial context and  strictly in penal context).   As NPI

            and  the Government of Japan point out, the Supreme Court has

            held  that Section One of the Sherman Act, which defines both

            criminal and  civil  violations  with  one  general  phrase,8

            "should  be construed as including intent as an element" of a

            criminal violation.   United  States v. United  States Gypsum
                                  ______________    _____________________

            Co., 438 U.S. 422,  443 (1978).  Where Congress  intends that
            ___

            our   laws   conform  with   international  law,   and  where

            international  law  suggests  that  criminal  enforcement and

                                
            ____________________

            8.  "Every  contract, combination  in  the form  of trust  or
            otherwise, or conspiracy, in restraint of trade or commerce .
            . . is declared to be illegal . . . ."  15 U.S.C.   1.

                                          25















            civil  enforcement  be viewed  differently,  it  is at  least

            conceivable that  different content could be  ascribed to the

            same language  depending on whether  the context is  civil or

            criminal.  It  is then worth  asking about the effect  of the

            international  law which  Congress presumably  also  meant to

            respect.

                      The content of international  law is determined "by

            reference 'to  the customs  and usages of  civilized nations,

            and,  as evidence  of  these, to  the  works of  jurists  and

            commentators.'"  Hilao v. Marcos, 103 F.3d 789, 794 (9th Cir.
                             _____    ______

            1996) (quoting The Paquete Habana, 175 U.S. 677, 700 (1900));
                           __________________

            see  also Kadic v. Karadzic, 70  F.3d 232 (2d Cir. 1995). The
            ___  ____ _____    ________

            Restatement  (Third)  of the  Foreign  Relations  Law of  the

            United  States restates  international law,  as derived  from

            customary international law and from international agreements

            to  which the United States is a  party, as it applies to the

            United  States.    See  Restatement (Third)  of  the  Foreign
                               ___  _____________________________________

            Relations  Law   of  the  United  States      1,  101  (1987)
            ________________________________________

            [hereinafter   Restatement].   The United States  courts have
                           ___________

            treated the Restatement as an illuminating outline of central

            principles of international law.  See Hartford Fire, 509 U.S.
                                              ___ _____________

            at 799  (citing Restatement); Hartford Fire, 509  U.S. at 818
                                          _____________

            (Scalia, J.,  dissenting) ("I  shall rely on  the Restatement

            (Third) of Foreign Relations  Law for the relevant principles

            of international law.   Its standards appear fairly supported



                                          26















            in  the  decisions  of  this Court  construing  international

            choice-of-law principles  . . . and in the decisions of other

            federal courts . . . ."); In re Maxwell Communications Corp.,
                                      __________________________________

            93 F.3d 1036, 1047-48 (2d Cir. 1996).

                      The  Restatement  articulates  principles,  derived

            from  international  law,  for determining  when  the  United

            States  may  properly exercise  regulatory  (or prescriptive)

            jurisdiction  over  activities  or  persons   connected  with

            another state.  It serves as a useful guide to evaluating the

            international  interests  at stake.    Sections  402 and  403

            articulate general principles.   See Restatement    402, 403.
                                             ___ ___________

            Section  415  applies  these principles  to  "Jurisdiction to

            Regulate Anti-Competitive Activities."  Id.   415.
                                                    ___

                      Restatement Section 402(1)(c) states  that "Subject

            to     403," a  state has  jurisdiction  to prescribe  law to

            "conduct outside  its territory  that has  or is intended  to

            have  substantial  effect  within  its  territory."    Id.   
                                                                   ___

            402(1)(c).  Section 403(1) states that, even when Section 402

            has been satisfied, jurisdiction  may not be exercised  if it

            is  "unreasonable."  Id.     403(1).   Section  403(2)  lists
                                 ___

            factors  to be  evaluated in  determining if  jurisdiction is

            reasonable:

                      (a)  the link  of the activity to  the territory of
                           the  regulating state,  i.e.,  the  extent  to
                                                   _____
                           which  the  activity  takes place  within  the
                           territory,  or  has  substantial, direct,  and
                           foreseeable effect upon or in the territory; 



                                          27















                      (b)  the   connections,    such   as   nationality,
                           residence, or economic  activity, between  the
                           regulating  state  and the  person principally
                           responsible  for the activity to be regulated,
                           or  between  that  state  and  those  whom the
                           regulation is designed to protect; 

                      (c)  the character of the activity to be regulated,
                           the importance of regulation to the regulating
                           state,   the  extent  to  which  other  states
                           regulate  such activities,  and the  degree to
                           which  the desirability of  such regulation is
                           generally accepted; 

                      (d)  the existence of  justified expectations  that
                           might be protected or hurt by the regulation; 

                      (e)  the  importance  of  the  regulation   to  the
                           international  political,  legal, or  economic
                           system;

                      (f)  the   extent  to   which  the   regulation  is
                           consistent   with   the   traditions  of   the
                           international system; 

                      (g)  the extent to which  another state may have an
                           interest in regulating the activity; and

                      (h)  the likelihood of  conflict with regulation by
                           another state. 


            Id.   403(2).9
            ___

                      Comment f to Section 403 states that the principles

            of Sections  402 and  403 "apply  to criminal  as well as  to

            civil  regulation."   Id.    403 cmt.  f.   But, specifically
                                  ___

            naming  the United  States antitrust  laws, the  comment also

            says  that for  statutes  that give  rise  to both  types  of

            liability, "the presence of substantial foreign elements will


                                
            ____________________

            9.  Section  403(3) is not applicable here.  See id.   403(3)
                                                         ___ ___
            cmt. e.

                                          28















            ordinarily weigh against  application of  criminal law."  Id.
                                                                      ___

            The  comment argues  that legislative  intent to  apply these

            laws criminally should only be found on the basis of "express

            statement or clear implication."  Id.  
                                              ___

                      While  the majority opinion  accurately states that

            this comment  is an expression  of the clear  statement rule,

            the  comment also  implies  that there  are special  concerns

            associated  with  the  imposition  of criminal  sanctions  on

            foreign  conduct.  See  also id.   403  n.8 ("In applying the
                               ___  ____ ___

            principle  of reasonableness,  the  exercise of  criminal (as

            distinguished  from civil)  jurisdiction in relation  to acts

            committed in  another state may be  perceived as particularly

            intrusive.").   Indeed, most  people recognize  a distinction

            between civil and criminal liability; that the law of nations

            should do so as well is not surprising.10  And while Hartford
                                                                 ________

            Fire  and  earlier judicial  decisions  have  found that  the
            ____

            antitrust  laws do apply,  in the  civil context,  to foreign

            conduct,  this  antitrust  common  law  is  not  the  express

            statement of legislative intent that the Restatement suggests

            may be appropriate in the criminal context.



                                
            ____________________

            10.  Enforcement of criminal  laws against foreign  nationals
            for  conduct  on  foreign  soil  may  affect  this  country's
            relationship with the foreign  country in somewhat  different
            ways than would  a civil  action.  Congress  could choose  to
            provide  more  explicit guidance  to  the  executive and  the
            courts  in this area if it is concerned about such impacts on
            foreign relations.

                                          29















                      Also relevant to the present inquiry is section 415

            (2), which states that:

                      Any  agreement  in  restraint  of  United
                      States trade that is  made outside of the
                      United   States,   and  any   conduct  or
                      agreement in restraint of such trade that
                      is carried out  predominantly outside  of
                      the  United  States, are  subject  to the
                      jurisdiction to prescribe  of the  United
                      States, if  a  principal purpose  of  the
                      conduct or agreement is to interfere with
                      the commerce of the United States and the
                      agreement  or conduct has  some effect on
                      that commerce.

            Restatement   415(2).   Comment a to Section 415  states that
            ___________

            the reasonableness principles articulated in Section 403 must

            still be satisfied.  See id cmt. a.
                                 ___ __

                      Application  of these principles  to the indictment

            at  issue here leads to  the conclusion that  the exercise of

            jurisdiction  is  reasonable in  this  case.   Here,  raising

            prices in the United States and Canada was not only a purpose
                                                                _

            of  the   alleged  conspiracy,   it  was   the purpose,  thus
                                                       ___

            satisfying  Section  415's  "principal purpose"  requirement.

            Moreover,  Section  415's  requirement  of "some  effect"  on

            United  States markets  is  amply met  here.   The indictment

            alleges that NPI  sold $ 6.1  million of fax  paper into  the

            United States during   1990, approximately the period covered

            by the charged conspiracy.  In 1990, total sales of fax paper

            in  North America  were  approximately $100  million.   NPI's

            price increases  thus affected  a not insignificant  share of

            the United States market.


                                          30















                      These same factors weigh heavily in the Section 403

            reasonableness analysis.  Because only North American markets

            were  targeted,   the United  States' interest  in combatting

            this  activity  appears  to  be  greater  than  the  Japanese

            interest, which may only  be the general interest of  a state

            in having  its industries  comport with foreign  legal norms.

            Japan  has no  interest in  protecting Japanese  consumers in

            this case as they were unaffected by  the alleged conspiracy.

            The United  States, in  contrast, has  a  strong interest  in

            protecting United States consumers,  who were affected by the

            increase in prices.   In this situation, it may  be that only

            the  United States  has  sufficient incentive  to pursue  the

            alleged wrongdoers, thereby providing the necessary deterrent

            to similar anticompetitive behavior.   In another case, where

            the  consumers of the situs nation were injured as well, that

            state's  interest in regulating anticompetitive conduct might

            be stronger than it is here.

                      Other Section 403 factors  also counsel in favor of

            the exercise of  jurisdiction here.   The  effects on  United

            States markets  were foreseeable and direct.   The Government

            of Japan  acknowledges that  antitrust regulation is  part of

            the  international  legal system,  and  NPI  does not  really

            assert that it  has justified expectations that  were hurt by







                                          31















            the regulation.11 The only factor  counseling against finding

            that  the United States' antitrust laws apply to this conduct

            is the fact that the situs  of the conduct was Japan and that

            the    principals   were   Japanese   corporations.      This

            consideration is inherent in the nature of jurisdiction based

            on effects of conduct, where the situs  of the conduct is, by

            definition, always a  foreign country.   This alone does  not

            tip the balance against jurisdiction.

                      For these  reasons, I agree with  the majority that

            the district court erred in dismissing the indictment.
























                                
            ____________________

            11.   While  criminal prosecution may come as a surprise, NPI
            should  have  known  that  civil  antitrust  liability  could
            include  treble  damages.   A corporation  found guilty  of a
            criminal  violation of Section One  is subject to  a fine not
            exceeding $ 10 million.   See 15 U.S.C.   2.   Treble damages
                                      ___
            obviously do not include a similar cap.   

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